                                                                                                                           Rev. 12/01/19
                                              LOCAL BANKRUPTCY FORM 3015-1

                                       IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                                               CHAPTER 13
Charlotte D. Martin                                                  CASE NO.   5:23-bk-00266

                                                                          ORIGINAL PLAN
                                                                            AMENDED PLAN (Indicate 1st, 2nd, 3rd, etc.)
                                                                          Number of Motions to Avoid Liens
                                                                          Number of Motions to Value Collateral

                                                         CHAPTER 13 PLAN

                                                              NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the following items. If an item is checked as
“Not Included” or if both boxes are checked or if neither box is checked, the provision will be ineffective if set out later in the plan.

1    The plan contains nonstandard provisions, set out in § 9, which are not included        Included               Not Included
     in the standard plan as approved by the U.S. Bankruptcy Court for the Middle
     District of Pennsylvania.
2    The plan contains a limit on the amount of a secured claim, set out in § 2.E,           Included               Not Included
     which may result in a partial payment or no payment at all to the secured
     creditor.
3    The plan avoids a judicial lien or nonpossessory, nonpurchase-money security            Included               Not Included
     interest, set out in § 2.G.

                                              YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a timely written objection. This plan may
be confirmed and become binding on you without further notice or hearing unless a written objection is filed before the deadline
stated on the Notice issued in connection with the filing of the plan.


1.       PLAN FUNDING AND LENGTH OF PLAN.

         A.       Plan Payments From Future Income


                  1. To date, the Debtor paid $ 0.00 (enter $0 if no payments have been made to the Trustee to date). Debtor shall
                  pay to the Trustee for the remaining term of the plan the following payments. If applicable, in addition to monthly
                  plan payments, Debtor shall make conduit payments through the Trustee as set forth below. The total base plan is
                  $5,400.00, plus other payments and property stated in § 1B below:

     Start             End                         Plan                      Estimated           Total                  Total
     mm/yy            mm/yy                      Payment                      Conduit           Monthly               Payment
                                                                             Payment            Payment               Over Plan
                                                                                                                        Tier
03/23            02/26                                           150.00               0.00              150.00                 5,400.00




                                                                                             Total Payments:                  $5,400.00

                  2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee that a different
                  payment is due, the Trustee shall notify the Debtor and any attorney for the Debtor, in writing, to adjust the conduit
                  payments and the plan funding. Debtor must pay all post-petition mortgage payments that come due before the
                  initiation of conduit mortgage payments.


         Case 5:23-bk-00266-MJC                Doc 6 Filed 02/08/23 Entered 02/08/23 09:09:36                            Desc
                                               Main Document    Page 1 of 5
                                                                                                                                Rev. 12/01/19

                     3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform to the terms of the plan.

                     4. CHECK ONE:        Debtor is at or under median income. If this line is checked, the rest of § 1.A.4 need not be
                                        completed or reproduced.


          B.         Additional Plan Funding From Liquidation of Assets/Other

                     1. The Debtor estimates that the liquidation value of this estate is $155,065.54. (Liquidation value is calculated as
                        the value of all non-exempt assets after the deduction of valid liens and encumbrances and before the deduction
                        of Trustee fees and priority claims.)

                     Check one of the following two lines.

                        No assets will be liquidated. If this line is checked, the rest of § 1.B.2 and complete § 1.B.3 if applicable.

                        Certain assets will be liquidated as follows:

                     2. In addition to the above specified plan payments, Debtor shall dedicate to the plan proceeds in the estimated
                        amount of $ 12,000.0 from the sale of property known and designated as 609 Avenue O
                        Matamoras, PA 18336 . All sales shall be completed by 08/30/2023 . If the property does not sell by the date
                        specified, then the disposition of the property shall be as follows:
                        Debtor will file a modified plan to cure the arrears if feasible.

                     3. Other payments from any source(s) (describe specifically) shall be paid to the Trustee as follows:


2.        SECURED CLAIMS.

          A.         Pre-Confirmation Distributions. Check one.

               None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.

          B.         Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other Direct Payments by
                     Debtor. Check one.

               None. If “None” is checked, the rest of § 2.B need not be completed or reproduced.

               Payments will be made by the Debtor directly to the creditor according to the original contract terms, and without
                modification of those terms unless otherwise agreed to by the contracting parties. All liens survive the plan if not
                avoided or paid in full under the plan.

      Name of Creditor                               Description of Collateral                       Last Four Digits of Account Number
Deutsche Bank Nat'l Trust
Co.                                 609 Avenue O Matamoras, PA 18336                                 9083

     C.         Arrears (Including, but not limited to, claims secured by Debtor’s principal residence). Check one.

               None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.

               The Trustee shall distribute to each creditor set forth below the amount of arrearages in the allowed claim. If post-petition
                arrears are not itemized in an allowed claim, they shall be paid in the amount stated below. Unless otherwise ordered, if
                relief from the automatic stay is granted as to any collateral listed in this section, all payments to the creditor as to that
                collateral shall cease, and the claim will no longer be provided for under § 1322(b)(5) of the Bankruptcy Code:




                                                                        2

          Case 5:23-bk-00266-MJC                   Doc 6 Filed 02/08/23 Entered 02/08/23 09:09:36                              Desc
                                                   Main Document    Page 2 of 5
                                                                                                                             Rev. 12/01/19
                                                                                        Estimated          Estimated
                                                                                                                             Estimated
                                                                                       Pre-petition       Post-petition
      Name of Creditor                       Description of Collateral                                                      Total to be
                                                                                       Arrears to be       Arrears to
                                                                                                                            paid in plan
                                                                                          Cured            be Cured
Deutsche Bank Nat'l Trust
Co                                609 Avenue O Matamoras, PA 18336                           $69,949.83            $0.00        $4,686.61

     D.         Other secured claims (conduit payments and claims for which a § 506 valuation is not applicable, etc.)
               None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.

          E.        Secured claims for which a § 506 valuation is applicable. Check one.
               None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.

          F.        Surrender of Collateral. Check one.

               None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.

          G.        Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check one.

               None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.

3.        PRIORITY CLAIMS.

          A.        Administrative Claims

                    1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed by the United States Trustee.

                    2. Attorney’s fees. Complete only one of the following options:

                         a.     In addition to the retainer of $ 580.00 already paid by the Debtor, the amount of $ 0.00 in the plan.
                                This represents the unpaid balance of the presumptively reasonable fee specified in L.B.R. 2016-2(c);
                                or

                         b.     $       per hour, with the hourly rate to be adjusted in accordance with the terms of the written fee
                                agreement between the Debtor and the attorney. Payment of such lodestar compensation shall require a
                                separate fee application with the compensation approved by the Court pursuant to L.B.R. 2016-2(b).

                    3. Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above.
                              Check one of the following two lines.

               None. If “None” is checked, the rest of § 3.A.3 need not be completed or reproduced.

          B. Priority Claims (including, certain Domestic Support Obligations)


          Allowed unsecured claims, entitled to priority under § 1322(a) will be paid in full unless modified under § 9.

               Name of Creditor                                                Estimated Total Payment
Borough of Matamoras                                                                     $173.39

          C. Domestic Support Obligations assigned to or owed to a governmental unit under 11 U.S.C. §507(a)(1)(B). Check
             one of the following two lines.

               None. If “None” is checked, the rest of § 3.C need not be completed or reproduced.

4.        UNSECURED CLAIMS

          A. Claims of Unsecured Nonpriority Creditors Specially Classified.
             Check one of the following two lines.
                                                                     3

          Case 5:23-bk-00266-MJC                 Doc 6 Filed 02/08/23 Entered 02/08/23 09:09:36                            Desc
                                                 Main Document    Page 3 of 5
                                                                                                                                 Rev. 12/01/19

              None. If “None” is checked, the rest of § 4.A need not be completed or reproduced.

           B. Remaining allowed unsecured claims will receive a pro-rata distribution of funds remaining after payment of
              other classes.

5.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following two lines.

              None. If “None” is checked, the rest of § 5 need not be completed or reproduced.

6.         VESTING OF PROPERTY OF THE ESTATE.

           Property of the estate will vest in the Debtor upon

           Check the applicable line:

                plan confirmation.
                entry of discharge.
                closing of case.


7.         DISCHARGE: (Check one)

             The debtor will seek a discharge pursuant to § 1328(a).
             The debtor is not eligible for a discharge because the debtor has previously received a discharge described in § 1328(f).


8.         ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the Trustee will treat the claim as
allowed, subject to objection by the Debtor.



Payments from the plan will be made by the Trustee in the following order:
Level 1:
Level 2:
Level 3:
Level 4:
Level 5:
Level 6:
Level 7:
Level 8:

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above Levels are not filled-in, then the
order of distribution of plan payments will be determined by the Trustee using the following as a guide:

Level 1:       Adequate protection payments.
Level 2:       Debtor's attorney's fees.
Level 3:       Domestic Support Obligations.
Level 4:       Priority claims, pro rata.
Level 5:       Secured claims, pro rata.
Level 6:       Specially classified unsecured claims.
Level 7:       Timely filed general unsecured claims.
Level 8:       Untimely filed general unsecured claims to which the Debtor has not objected.

9.         NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision placed elsewhere in the plan is void.

                                                                       4

           Case 5:23-bk-00266-MJC                 Doc 6 Filed 02/08/23 Entered 02/08/23 09:09:36                               Desc
                                                  Main Document    Page 4 of 5
                                                                                                                             Rev. 12/01/19
(NOTE: The plan and any attachment must be filed as one document, not as a plan and exhibit.)

Dated:     February 6, 2023                                                /s/ Christopher G. Cassie
                                                                           Christopher G. Cassie
                                                                           Attorney for Debtor

                                                                           /s/ Charlotte D. Martin
                                                                           Charlotte D. Martin
                                                                           Debtor

By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor also certifies that this plan contains
no nonstandard provisions other than those set out in § 9.




                                                                     5

         Case 5:23-bk-00266-MJC                 Doc 6 Filed 02/08/23 Entered 02/08/23 09:09:36                             Desc
                                                Main Document    Page 5 of 5
